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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

CARRIE DAWN MCCLAIN RAPER                                                       PLAINTIFF

v.                              Case No. 4:21-cv-00094 JM

CITY OF WARREN; DENISA PENNINGTON,
Mayor; SHAWN HILDRETH, Police Chief, Warren;
TIM BRIGHTON, Former Sergeant, Warren Police;
TIM NICHOLS, Detective, Warren Police; ROBBIE
ASHCRAFT, Detective, Warren Police; DOES, Warren
City Council Members and Police Officer Alex;
ALEX MEEKS, Warren Patrolman                                                DEFENDANTS

                                       JUDGMENT

       Consistent with the Order that was entered on this day, it is considered, ordered, and

adjudged that this case is hereby DISMISSED without prejudice.

       IT IS SO ADJUDGED this 30th day of March, 2021.



                                                      ________________________________
                                                      UNITED STATES DISTRICT JUDGE
